         Case 2:11-cr-00048-JCM-CWH          Document 136      Filed 12/13/11                      Page 1 of 3
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 6                             UNITED STATES DISTRICT CO URT

 7                                     DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                        )
                                                    )
 9                        Plaintiff,                )
                                                    )
10          v.                                      )          2:1l-CR-48-JCM
                                                    )
11 DANYA M AYCOTTE,                                 )
                                                    )
12                        Defendant.                )
13                          PRELIM INARY ORDER OF FORFEITURE
14        ThisCourtfindsthaton Decem ber7,2011,defendantDAN YA M AYCOTTE pled guiltyto

15 Cotmt0ne ofa One-countCriminalIndictm entcharging her wit,
                                                            h Conspiracy to Distribute a
16 Controlled Substmwe;thatis,50 or more gram s ofM ethamphetamine,in violation ofTitle 18,
17 United StatesCode,Section 846.Docket#1.

l8        ThisCourtfindsdefendantDANYA M AYCOTTE agreedto theforfeitureoftheproperty set
19 forth in ForfeitktreAllegation oftlw Crim inallndidm ent.

20          This Courtfnds,pttrsuantto Fed.R.Crim.P.32,2(.
                                                         b)(1)and (2),the United Statesof
21 Americahasshown tltercquisitenexusbetweenpropertysetforthintheForfeitureAllegationofthe
22 CriminalIndictmentand the offenseto whic,
                                           h defendantDAN YA M AYCOTTE pled guilty.

23         The following assetsare subjectto forfeiture pursuantto Title21,United StatesCode,
24 Sections841(a)(1),846,853(a)(1)and 853û9:
25 ..,
26
.
        11à. Case 2:11-cr-00048-JCM-CWH         Document 136       Filed 12/13/11   Page 2 of 3



    1          a)     $44,000inUnited StatesCurrency.
    2          n isCourtfindsthe United StatesofAmerica isnow entitled to,and should,reduce the
    3 aforem entioned property to thepossession oftheUnited StatesofAm erica.

    4          NOW THEREFOIW IT ISHEREBY ORDERED,ADJUDGED,AND DEcM ED thatthe
    5 United States ofA m erica should seize the aforem entioned property.

    6          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED al1right,title,andinterestof

    7 DANYA M AYCOTTE intheaforementionedpropeo isforfeitedandisvestedintheUnitedStates
    8 ofAmericaandshallbesafelyheldbytheUnited StatesofAm ericauntilfurtherorderoftheCourt.

    9          IT ISFURTHER ORDERED,ADJUDGED,AND DECREED theUnitedStatesofAm erica

10 shallpublishforatleastthirty(30)consecutivedaysontheofticialinternetgovernmentforfeiture
11 website,wwm forfeiture.gov,noticeofthisOrder,which shalldescribetheforfeited property,state

12 thetim etmdertheapplicablestatutewhenapetitioncontestingtheforfeituremustbefiled,andstate
13 the nam e and contactinform ation for the governmentattorney to be sen'ed whh the petition,

14 pursuantto Fed.R.Crim.P.32,2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2),
15             IT IS FURTHER ORDERED,ADJUDCED,AN D DECREED a petition,ifany,mustbe
16 filed with theClerk oftheCourt,333LasVegasBoulevard South,LasVegms,Nevada 89101.
17             IT IS FURTHER ORDERED,ADJUDGED,AND DECREED acopy ofthepetition,ifany,
18 shallbe served upon the AssetForfeiture Attorney ofthe United States Atlorney'sOftk e atthe

19 following addressatthetime offiling:

20                    M ichaelA.Humphreys
                      AssistantUnited StatesAttorney
21                    D anielD .Hollingsworth
                      A ssistantUnited States Attorney
22                    Lloyd D.GeorgeUnited StatesCourthouse
                      333 Las VegasBoulevard South,Suite 5000
23                    LasV egas,N evada 89101
24                    IT IS FU RTHER O RD ERED ,A DJU D GED ,AN D DECREED the notice described

25 herein neednotbepublished in theeventaDeclaration ofForfeitureisissued by theappropriate
26 ...
     l. Case 2:11-cr-00048-JCM-CWH Document 136 Filed 12/13/11 Page 3 of 3
 1 agency following publication ofnoticeofseiztlreand intentto adm inistratively forfeittheabove-

2 described property.
3          DATED this 13th day
                             day
                               ofof
                                  December, 2011.          ,2011.

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